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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                                      5/13/2025
 Dameka Dowdy, et al., on behalf of
 themselves and all others similarly situated,
                                                               1:22-cv-06284 (ALC) (SDA)
                                  Plaintiffs,
                                                               RULE 502(d) ORDER
                      -against-

 The City of New York,

                                  Defendant.

STEWART D. AARON, United States Magistrate Judge:

         It is hereby ORDERED as follows:

         1. The production of privileged or work-product protected documents, electronically

stored information (“ESI”) or other information, whether inadvertent or otherwise, is not a

waiver of the privilege or protection from discovery in this case or in any other federal or state

proceeding. This Order shall be interpreted to provide the maximum protection allowed by

Federal Rule of Evidence 502(d).

         2. Nothing contained herein is intended to or shall serve to limit a party’s right to conduct

a review of documents, ESI or other information (including metadata) for relevance,

responsiveness and/or segregation of privileged and/or protected information before

production.

SO ORDERED.

Dated:          New York, New York
                May 13, 2025

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                                                       STEWART D. AARON
                                                       United States Magistrate Judge
